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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



 In re:                                                     Chapter 7

 BMT Designers & Planners, Inc.,                            Case No. 22-10123 (MG)

           Debtors.



                                 NOTICE OF APPEARANCE AND
                               REQUEST FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that Godfrey & Kahn, S.C. has been retained by and hereby

   appears on behalf of Fincantieri Marine Group in the above-captioned case.

          Pursuant to Rules 9010(b), 2002, and 9007 of the Federal Rules of Bankruptcy

   Procedure, Timothy F. Nixon requests that copies of all notices and pleadings in this case be

   delivered to and served upon the party identified below at the following addresses:

                                           Timothy F. Nixon
                                      GODFREY & KAHN, S.C.
                                 200 South Washington Street, Suite 100
                                      Green Bay, WI 54301-4298
                                      Telephone: (920) 436.7693
                                       Facsimile: (920) 436.7988
                                      E-mail: tnixon@gklaw.com

          PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the Bankruptcy Rules specified above but also includes, without

limitation, all orders, applications, motions, petitions, pleadings, requests, complaints or

demands, whether formal or informal, written or oral, transmitted or conveyed by mail delivery,

telephone, facsimile or otherwise, in this case.
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         Dated: February 15, 2022




                                                 GODFREY & KAHN, S.C.


                                                 By: /s/ Timothy F. Nixon _________________
                                                    Timothy F. Nixon
                                                    New York State Bar No. 4436390

                                                    Attorneys for Fincantieri Marine Group




    GODFREY & KAHN, S.C.
    200 South Washington Street, Suite 100
    Green Bay, WI 54301-4298
    Telephone: (920) 436.7693
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    Email: tnixon@gklaw.com

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